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                                                                                                            Exhibit A
                                                                                                        Master Service List


               Description                                       Name                                          Address                                  Email                          Method of Service
Matrix                                      1970 Group, Inc                           Attn: Angela Buhrke/Stephen Roseman           SR@1970Group.com; abuhrke@1970Group.com   Email
                                                                                      400 Madison Ave, 18th Fl
                                                                                      New York, NY 10017
Attorney General                            Arizona Attorney General’s Office – CSS   P.O. Box 6123, MD 7611                                                                  First Class Mail
                                                                                      Phoenix, AZ 85005‐6123
*NOA ‐ Attorney for the State of Michigan, Assistant Attorney General                 Attn: Jeanmarie Miller                        millerj51@michigan.gov                    Email
Department of Treasury                                                                Cadillac Place Bldg
                                                                                      3030 W Grand Blvd, Ste 10‐200
                                                                                      Detroit, MI 48202
*NOA ‐ Counsel for DDP Specialty            Ballard Spahr LLP                         Attn: Tobey M Daluz/Margaret A Vesper         daluzt@ballardspahr.com                   Email
Electronic Materials US, LLC                                                          919 N Market St, 11th Fl                      vesperm@ballardspahr.com
                                                                                      Wilmington, DE 19801‐3034
*NOA ‐ Counsel to Calumet, Inc.             Barnes & Thornburg LLP                    Attn: Mark R Owens/Kevin G Collins            mark.owens@btlaw.com                      Email
                                                                                      222 Delaware Ave, Ste 1200                    kevin.collins@btlaw.com
                                                                                      Wilmington, DE 19801
*NOA ‐ Counsel to Infor (US), LLC           Barnes & Thornburg LLP                    Attn: Kevin G Collins                         kevin.collins@btlaw.com                   Email
                                                                                      222 Delaware Ave, Ste 1200
                                                                                      Wilmington, DE 19801
*NOA ‐ Counsel to Infor (US), LLC           Barnes & Thornburg LLP                    Attn: Molly N Sigler                          Molly.Sigler@btlaw.com                    Email
                                                                                      225 S Sixth St, Ste 2800
                                                                                      Minneapolis, MN 55402‐4662
*NOA ‐ Counsel to Elanco US Inc.            Barnes & Thornburg LLP                    Attn: Mark R Owens/Kevin G Collins            mark.owens@btlaw.com                      Email
                                                                                      222 Delaware Ave, Ste 1200                    kevin.collins@btlaw.com
                                                                                      Wilmington, DE 19801
Committee of Unsecured Creditors            Black & Decker (US), Inc.                 Attn: Theodore Morris/Matthew Reap            ted.morris@sbdinc.com                     Email
                                                                                      1000 Stanley Dr                               matthew.reap@sbdinc.com
                                                                                      New Britain, CT 06053
*NOA ‐ Counsel for Monrovia Nursery         Blakeley LC                               Attn: Scott E Blakeley                        SEB@BlakeleyLC.com                        Email
Company                                                                               530 Technology Dr, Ste 100
                                                                                      Irvine, CA 92618
*NOA ‐ Counsel to PNC Bank, National        Blank Rome LLP                            Attn: Regina Stango Kelbon/Stanley B Tarr     regina.kelbon@blankrome.com               Email
Association                                                                           1201 N Market St, Ste 800                     stanley.tarr@blankrome.com
                                                                                      Wilmington, DE 19801
*NOA ‐ Counsel to PNC Bank, National        Blank Rome LLP                            Attn: John E Lucian                           john.lucian@blankrome.com                 Email
Association                                                                           1 Logan Sq
                                                                                      130 N 18th St
                                                                                      Philadelphia, PA 19103
*NOA ‐ Counsel for for Freudenberg          Bodman PLC                                Attn: Noel Ravenscroft                        nravenscroft@bodmanlaw.com                Email
Filtration Technologies, L.P. and Protect                                             1901 St Antoine St,
Plus Industries                                                                       6th Fl at Ford Field
                                                                                      Detroit, MI 48226
*NOA ‐ Counsel for STNL II (Harvard), LLC Brennan Investment Group                    Attn: Dean Farley                             dfarley@brennanllc.com                    Email
                                                                                      10275 W Higgins Rd, Ste 801
                                                                                      Rosemont, IL 60018
*NOA ‐ Counsel for Oracle America, Inc.     Buchalter, A Professional Corporation     Attn: Shawn M Christianson                    schristianson@buchalter.com               Email
                                                                                      425 Market St, Ste 2900
                                                                                      San Francisco, CA 94105‐3493
Committee of Unsecured Creditors            Carhartt, Inc.                            Attn: Anna Inch                               ainch@carhartt.com                        Email
                                                                                      5750 Mercury Dr
                                                                                      Dearborn, MI 48126
*NOA ‐ Counsel to Hammer (DE) Limited Chaffetz Lindsey LLP                            Attn: Alan J Lipkin                           alan.lipkin@chaffetzlindsey.com           Email
Partnership, Borland (MN) LLC,                                                        1700 Broadway, 33rd Fl
Hammered Home (OH) LLC, Wilson                                                        New York, NY 10019
Neighbor (IL) LLC and Wrench (DE) Limited
Partnership
*NOA ‐ Counsel for for Freudenberg        Connolly Gallagher LLP                      Attn: Karen C Bifferato                       kbifferato@connollygallagher.com          Email
Filtration Technologies, L.P. and Protect                                             1201 N Market St 20th Fl
Plus Industries                                                                       Wilmington, DE 19801
*NOA ‐ Counsel for Korber Supply Chain Cowles & Thompson, P.C.                        Attn: William L Siegel                        bsiegel@cowlesthompson.com                Email
US, Inc.                                                                              901 Main St, Ste 3900
                                                                                      Dallas, TX 75202
*NOA ‐ Counsel for Cold Spring HW LLC       Davidoff Hutcher & Citron LLP             Attn: Jonathan Pasternak/James Glucksman      rlr@dhclegal.com                          Email
d/b/a Brett's Hardware                                                                605 3rd Ave                                   jbg@dhclegal.com
                                                                                      New York, NY 10158
*NOA ‐ Counsel for Forney Industries, Inc. Davis Graham & Stubbs                      Attn: Adam L Hirsch                           Adam.Hirsch@davisgraham.com               Email
                                                                                      1550 17th St, Ste 500
                                                                                      Denver, CO 80202
Governmental Agencies                       Delaware State Treasury                   820 Silver Lake Blvd, Ste 100                                                           First Class Mail
                                                                                      Dover, DE 19904
*NOA ‐ Counsel for JELD‐WEN                 Duane Morris LLP                          Attn: Sommer L Ross                           slross@duanemorris.com                    Email
                                                                                      1201 Market St, Ste 501
                                                                                      Wilmington, DE 19801
*NOA ‐ Counsel for 462 Thomas Family        Duane Morris LLP                          Attn: Christopher M Winter/James C Carignan   cmwinter@duanemorris.com                  Email
Properties, L.P. d/b/a Gillis Thomas                                                  1201 N Market St, Ste 501                     jccarignan@duanemorris.com
Company (“Gillis Thomas”)                                                             Wilmington, DE 19801
*NOA ‐ Counsel for 462 Thomas Family        Duane Morris LLP                          Attn: James H Billingsley                     jbillingsley@duanemorris.com              Email
Properties, L.P. d/b/a Gillis Thomas                                                  100 Crescent Ct, Ste 1200
Company (“Gillis Thomas”)                                                             Dallas, TX 75201
*NOA ‐ Counsel to The Toro Company          Fox Rothschild LLP                        Attn: Stephanie Slater Ward, Esq.             sward@foxrothschild.com                   Email
                                                                                      1201 N Market St, Ste 1200
                                                                                      Wilmington, DE 19801
*NOA ‐ Counsel to The Toro Company          Fox Rothschild LLP                        Attn: Gordon E. Gouveia, Esq.                 ggouveia@foxrothschild.com                Email
                                                                                      321 N Clark St, Ste 1600
                                                                                      Chicago, IL 60654
*NOA ‐ Counsel for Plymouth MWG 1750 Frost Brown Todd LLP                             Attn: Ronald E Gold/Erin P Severini           rgold@fbtlaw.com;                         Email
South Lincoln LLC                                                                     3300 Great American Twr                       eseverini@fbtlaw.com
                                                                                      301 E 4th St
                                                                                      Cincinnati, OH 45202
*NOA ‐ Counsel for Woodford Plywood,        Gardner, Willis, Plaire, & Wilson         Attn: Regan T Cason                           regan.cason@gwpwlaw.com                   Email
Inc.                                                                                  1115 W Third Ave
                                                                                      PO Drawer 71788
                                                                                      Albany, GA 31708‐1788
*NOA ‐ Counsel to AmeriGas Propane, L.P Gellert Seitz Busenkell & Brown, LLC          Attn: Ronald S Gellert                        rgellert@gsbblaw.com                      Email
                                                                                      1201 N Orange St, Ste 300
                                                                                      Wilmington, DE 19801




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                                                                                                        Exhibit A
                                                                                                    Master Service List


               Description                                   Name                                          Address                                   Email                    Method of Service
Proposed efficiency counsel for the        Glenn Agre Bergman & Fuentes LLP       Attn: Andrew K Glenn/Trevor J Welch       aglenn@glennagre.com                     Email
Debtors                                                                           Attn: Malak S Doss                        twelch@glennagre.com
                                                                                  1185 Ave of the Americas, Fl 22           mdoss@glennagre.com
                                                                                  New York, NY 10036
*NOA ‐ Counsel for Western Springs         Golan Christie Taglia LLP              Attn: Barbara L Yong                      Barbaralyong@gmail.com                   Email
Village True Value Hardware, Inc. dba                                             70 W Madison St, Ste 1500
Village True Value Hardware                                                       Chicago, IL 60602
Landlord                                   Granite (12 Tradeport) LLC             c/o Barclay Damon LLP                     KNewman@barclaydamon.com                 Email
                                                                                  Attn: Kevin M Newman/Scott Fleischer      SFleischer@barclaydamon.com
                                                                                  Barclay Damon Twr
                                                                                  125 E Jefferson St
                                                                                  Syracuse, NY 13202
*NOA ‐ Counsel for McCoy’s Building        Husch Blackwell LLP                    Attn: Lynn Hamilton Butler                lynn.butler@huschblackwell.com           Email
Supply                                                                            111 Congress Ave, Ste 1400
                                                                                  Austin, TX 78701
IRS                                        Internal Revenue Service               Attn: Centralized Insolvency Operation                                             First Class Mail
                                                                                  P.O. Box 7346
                                                                                  Philadelphia, PA 19101‐7346
*NOA ‐ Counsel to AmeriGas Propane, L.P Javerbaum Wurgaft Hicks Kahn Wikstrom &   Attn: Raymond M Patella                   rpatella@lawjw.com                       Email
                                        Sinins P.C.                               505 Morris Ave
                                                                                  Springfield, NJ 07081
*NOA ‐ Counsel for STNL II (Harvard), LLC K&L Gates LLP                           Attn: David Weitman                       david.weitman@klgates.com                Email
                                                                                  1717 Main St, Ste 2800
                                                                                  Dallas, TX 75201
*NOA ‐ Counsel for STNL II (Harvard), LLC K&L Gates LLP                           Attn: Steven L Caponi/Matthew B Goeller   steven.caponi@klgates.com                Email
                                                                                  600 N King St, Ste 901                    matthew.goeller@klgates.com
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel to Ryder Integrated         Kelley Drye & Warren LLP               Attn: James S Carr/Philip A Weintraub     jcarr@kelleydrye.com                     Email
Logistics, Inc., Ryder Transportation                                             Attn: Katherine M Cavins                  pweintraub@kelleydrye.com
Solutions, LLC, and Ryder Truck Rental,                                           3 World Trade Ctr                         kcavins@kelleydrye.com
Inc. d/b/a Ryder Transportation Services                                          175 Greenwich St                          kdwbankruptcydepartment@kelleydrye.com
                                                                                  New York, NY 10007
*NOA ‐ Counsel for Cooper Lighting, LLC    Kohner, Mann & Kailas, S.C.            Attn: Samuel C. Wisotzkey                 swisotzkey@kmksc.com                     Email
                                                                                  Washington Building
                                                                                  Barnabas Business Ctr
                                                                                  4650 N Port Washington Rd
                                                                                  Milwaukee, WI 53212‐1059
*NOA ‐ Counsel to Highline Warren          Kutak Rock LLP                         Attn: Lisa M Peters                       lisa.peters@kutakrock.com                Email
                                                                                  1650 Farnam St
                                                                                  Omaha, NE 68102
*NOA ‐ Counsel to Highline Warren          Loizides, P.A.                         Attn: Christopher D Loizides              loizides@loizides.com                    Email
                                                                                  1225 King St, Ste 800
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel to Alliance Sports Group, Mayer Brown LLP                          Attn: Louis Chiappetta/Jade M Edwards     LChiappetta@mayerbrown.com               Email
L.P. d/b/a Alliance Consumer Group/ACG                                            71 S Wacker Dr                            JMEdwards@mayerbrown.com
                                                                                  Chicago, IL 60606
*NOA ‐ Counsel for Somerset Leasing XXV, McCarter & English LLP                   Attn: Matthew J Rifino                    mrifino@mccarter.com                     Email
LLC, Somerset Leasing Corp XXII, and                                              Renaissance Ctr
Somerset Leasing Corp 27                                                          405 N King St, 8th Fl
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Somerset Leasing XXV, McCarter & English LLP                   Attn: Inez M Markovich                    imarkovich@mccarter.com                  Email
LLC, Somerset Leasing Corp XXII, and                                              1600 Market St, Ste 3900
Somerset Leasing Corp 27                                                          Philadelphia, PA 19103
*NOA ‐ Counsel for Somerset Leasing XXV, McCarter & English LLP                   Attn: Yan Borodanski                      yborodanski@mccarter.com                 Email
LLC, Somerset Leasing Corp XXII, and                                              4 Gateway Ctr
Somerset Leasing Corp 27                                                          100 Mulberry St, 12th Fl
                                                                                  Newark, NJ 07102
*NOA ‐ Counsel to STIHL Incorporated       McGuireWoods LLP                       Attn: Dion W Hayes/K Elizabeth Sieg       dhayes@mcguirewoods.com                  Email
                                                                                  Attn: Connor W Symons                     bsieg@mcguirewoods.com
                                                                                  Gateway Plz                               csymons@mcguirewoods.com
                                                                                  800 E Canal St
                                                                                  Richmond, VA 23219‐3916
*NOA ‐ Counsel for Stanley Black &         Miles & Stockbridge P.C.               Attn: Emily K Devan/Linda V Donhauser     edevan@milesstockbridge.com              Email
Decker, Inc.                                                                      100 Light St, 7th Fl                      ldonhauser@milesstockbridge.com
                                                                                  Baltimore, MD 21202
*NOA ‐ Counsel for CIT Bank, N.A           Morgan Lewis & Bockius LLP             Attn: Matthew O’Donnell                   matthew.odonnell@morganlewis.com         Email
                                                                                  101 Park Ave
                                                                                  New York, NY 10178
*NOA ‐ Counsel for CIT Bank, N.A           Morgan, Lewis & Bockius LLP            Attn: Jody C Barillare                    jody.barillare@morganlewis.com           Email
                                                                                  1201 N Market St, Ste 2201
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Leslie and Gary Killian Morris & Player PLLC                   Attn: Douglas H Morris                    DHM@morrisplayer.com                     Email
                                                                                  1211 Herr Ln, Ste 205
                                                                                  Louisville, KY 40222
*NOA ‐ Counsel to Hammer (DE) Limited Morris Nichols Arsht & Tunnell LLP          Attn: Curtis S Miller/Austin T Park       cmiller@morrisnichols.com                Email
Partnership, Borland (MN) LLC,                                                    1201 N Market St, Ste 1600                apark@morrisnichols.com
Hammered Home (OH) LLC, Wilson                                                    PO Box 1347
Neighbor (IL) LLC and Wrench (DE) Limited                                         Wilmington, DE 19899‐1347
Partnership
Attorney General                          Office of the Attorney General          Attn: Sean Reyes                          bankruptcy@agutah.gov                    Email
                                                                                  State Capitol, Rm 236
                                                                                  Salt Lake City, UT 84114‐0810
Attorney General                           Office of the Attorney General         Attn: Bob Ferguson                        serviceATG@atg.wa.gov                    Email
                                                                                  1125 Washington St SE
                                                                                  P.O. Box 40100
                                                                                  Olympia, WA 98504‐0100
Attorney General                           Office of the Attorney General         Attn: Anthony G Brown                     oag@oag.state.md.us                      Email
                                                                                  200 St Paul Pl
                                                                                  Baltimore, MD 21202‐2202
Attorney General                           Office of the Attorney General         441 4th St NW, Ste 1100 S                 oag@dc.gov                               Email
                                                                                  Washington, DC 20001
Attorney General                           Office of the Attorney General         Attn: Tim Griffin                         oag@ArkansasAG.gov                       Email
                                                                                  323 Center St, Ste 200
                                                                                  Little Rock, AR 72201‐2610
Attorney General                           Office of the Attorney General         345 State Capitol                         nedoj@nebraska.gov                       Email
                                                                                  Lincoln, NE 68509




True Value Company, L.L.C., et al. (Case No. 24‐12337)
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                                                                                                  Exhibit A
                                                                                              Master Service List


              Description                                       Name                                 Address                                    Email               Method of Service
Attorney General                           Office of the Attorney General   Attn: Drew Wrigley                        ndag@nd.gov                          Email
                                                                            State Capital
                                                                            600 E Boulevard Ave
                                                                            Bismarck, ND 58505‐0040
Attorney General                           Office of the Attorney General   Attn: Dana Nessel                         miag@michigan.gov                    Email
                                                                            P.O. Box 30212
                                                                            525 W Ottawa St
                                                                            Lansing, MI 48909‐0212
Attorney General                           Office of the Attorney General   Attn: Dana Nessel                         miag@michigan.gov                    Email
                                                                            Cadillac Place, 10th Fl
                                                                            3030 W Grand Blvd
                                                                            Detroit, MI 48202
Attorney General                           Office of the Attorney General   Attn: Anne E Lopez                        hawaiiag@hawaii.gov                  Email
                                                                            425 Queen St
                                                                            Honolulu, HI 96813
Attorney General                           Office of the Attorney General   Attn: Austin Knudsen                      contactdoj@mt.gov                    Email
                                                                            Justice Bldg, 3rd Fl
                                                                            215 N Sanders
                                                                            Helena, MT 59620‐1401
Attorney General                           Office of the Attorney General   Attn: Jason Miyares                       Contact@Virginia.gov                 Email
                                                                            202 N 9th St
                                                                            Richmond, VA 23219
Attorney General                           Office of the Attorney General   Attn: Brenna Bird                         consumer@ag.iowa.gov                 Email
                                                                            Hoover State Office Bldg
                                                                            1305 E Walnut
                                                                            Des Moines, IA 50319
Attorney General                           Office of the Attorney General   Attn: Todd Rokita                         Constituent@atg.in.gov               Email
                                                                            Indiana Govt Ctr S
                                                                            302 W Washington St, 5th Fl
                                                                            Indianapolis, IN 46204
Attorney General                           Office of the Attorney General   Attn: Ellen F Rosenblum                   attorneygeneral@doj.state.or.us      Email
                                                                            Justice Bldg
                                                                            1162 Court St NE
                                                                            Salem, OR 97301
Attorney General                           Office of the Attorney General   Attn: John Formella                       attorneygeneral@doj.nh.gov           Email
                                                                            33 Capitol St
                                                                            Concord, NH 03301
Attorney General                           Office of the Attorney General   Attn: Kathy Jennings                      attorney.general@delaware.gov        Email
                                                                            Carvel State Office Bldg
                                                                            820 N French St
                                                                            Wilmington, DE 19801
Attorney General                           Office of the Attorney General   Attn: William Tong                        attorney.general@ct.gov              Email
                                                                            165 Capitol Ave
                                                                            Hartford, CT 06106
Attorney General                           Office of the Attorney General   Attn: Treg Taylor                         attorney.general@alaska.gov          Email
                                                                            1031 W 4th Ave, Ste 200
                                                                            Anchorage, AK 99501‐1994
Attorney General                           Office of the Attorney General   Attn: Raúl Labrador                       bankruptcy@ag.idaho.gov              Email
                                                                            700 W Jefferson St, Ste 210
                                                                            P.O. Box 83720
                                                                            Boise, ID 83720‐1000
Attorney General                           Office of the Attorney General   Attn: Andrea Campbell                     ago@state.ma.us                      Email
                                                                            1 Ashburton Pl, 20th Fl
                                                                            Boston, MA 02108‐1698
Attorney General                           Office of the Attorney General   Attn: Andrea Campbell                     ago@state.ma.us                      Email
                                                                            10 Mechanic St, Ste 301
                                                                            Worcester, MA 01608
Attorney General                           Office of the Attorney General   Attn: Andrea Campbell                     ago@state.ma.us                      Email
                                                                            1441 Main St, 12th Fl
                                                                            Springfield, MA 01103
Attorney General                           Office of the Attorney General   Attn: Charity R Clark                     ago.info@vermont.gov                 Email
                                                                            109 State St
                                                                            Montpelier, VT 05609‐1001
Attorney General                           Office of the Attorney General   Attn: Mike Hilgers                        ago.info.help@nebraska.gov           Email
                                                                            State Capitol
                                                                            P.O. Box 98920
                                                                            Lincoln, NE 68509‐8920
Attorney General                           Office of the Attorney General   Attn: Kris Mayes                          AGInfo@azag.gov                      Email
                                                                            2005 N Central Ave
                                                                            Phoenix, AZ 85004
Attorney General                           Office of the Attorney General   Attn: Aaron D Ford                        aginfo@ag.nv.gov                     Email
                                                                            Old Supreme Court Bldg
                                                                            100 N Carson St
                                                                            Carson City, NV 89701
Attorney General                           Office of the Attorney General   State of Alabama                                                               First Class Mail
                                                                            Attn: Steve Marshall
                                                                            501 Washington Ave
                                                                            P.O. Box 300152
                                                                            Montgomery, AL 36130‐0152
Attorney General                           Office of the Attorney General   California Dept of Justice                                                     First Class Mail
                                                                            P.O. Box 944255
                                                                            Sacramento, CA 94244‐2550
Attorney General                           Office of the Attorney General   Consumer Law Section                                                           First Class Mail
                                                                            Attn: Bankruptcy Notices
                                                                            455 Golden Gate Ave, Ste 11000
                                                                            San Francisco, CA 94102‐7004
Attorney General                           Office of the Attorney General   Attn: Phil Weiser                                                              First Class Mail
                                                                            Ralph L Carr
                                                                            Colorado Judicial Ctr
                                                                            1300 Broadway, 10th Fl
                                                                            Denver, CO 80203
Attorney General                           Office of the Attorney General   Attn: Chris Carr                                                               First Class Mail
                                                                            40 Capital Sq SW
                                                                            Atlanta, GA 30334‐1300
Attorney General                           Office of the Attorney General   1745 Innovation Dr                                                             First Class Mail
                                                                            Carbondale, IL 62901




True Value Company, L.L.C., et al. (Case No. 24‐12337)
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                                                                                               Master Service List


              Description                                       Name                                Address                        Email                  Method of Service
Attorney General                           Office of the Attorney General   500 S 2nd St                                                        First Class Mail
                                                                            Springfield, IL 62701
Attorney General                           Office of the Attorney General   Attn: Kris Kobach                                                   First Class Mail
                                                                            120 SW 10th Ave, 2nd Fl
                                                                            Topeka, KS 66612‐1597
Attorney General                           Office of the Attorney General   Attn: Daniel Cameron                                                First Class Mail
                                                                            700 Capitol Ave, Ste 118
                                                                            Capitol Bldg
                                                                            Frankfort, KY 40601
Attorney General                           Office of the Attorney General   Attn: Jeff Landry                                                   First Class Mail
                                                                            P.O. Box 94095
                                                                            Baton Rouge, LA 70804‐4095
Attorney General                           Office of the Attorney General   Attn: Keith Ellison                                                 First Class Mail
                                                                            State Capital
                                                                            75 Dr Martin Luther King Jr Blvd, Ste 102
                                                                            St Paul, MN 55155
Attorney General                           Office of the Attorney General   Attn: Lynn Fitch                                                    First Class Mail
                                                                            Dept of Justice
                                                                            P.O. Box 220
                                                                            Jackson, MS 39205
Attorney General                           Office of the Attorney General   Attn: Josh Stein                                                    First Class Mail
                                                                            Dept of Justice
                                                                            P.O. Box 629
                                                                            Raleigh, NC 27602‐0629
Attorney General                           Office of the Attorney General   Attn: Gentner Drummond                                              First Class Mail
                                                                            313 NE 21st St
                                                                            Oklahoma City, OK 73105
Attorney General                           Office of the Attorney General   Attn: Peter F Neronha                                               First Class Mail
                                                                            150 S Main St
                                                                            Providence, RI 02903
Attorney General                           Office of the Attorney General   800 5th Ave, Ste 2000                                               First Class Mail
                                                                            Seattle, WA 98104
Attorney General                           Office of the Attorney General   Attn: Patrick Morrisey                                              First Class Mail
                                                                            State Capitol
                                                                            1900 Kanawha Blvd E
                                                                            Charleston, WV 25305
Attorney General                           Office of the Attorney General   Attn: Bridget Hill                                                  First Class Mail
                                                                            State Capitol Bldg
                                                                            Cheyenne, WY 82002
Attorney General                           Office of the Attorney General   Attn: Brian Schwalb                                                 First Class Mail
                                                                            400 6th St NW
                                                                            Washington, DC 20001
Attorney General                           Office of the Attorney General   Attn: Rob Bonta                                                     First Class Mail
                                                                            1300 I St, Ste 1740
                                                                            Sacramento, CA 95814
Attorney General                           Office of the Attorney General   Attn: Ashley Moody                                                  First Class Mail
                                                                            The Capital, PL 01
                                                                            Tallahassee, FL 32399‐1050
Attorney General                           Office of the Attorney General   Attn: Kwame Raoul                                                   First Class Mail
                                                                            James R Thompson Ctr
                                                                            100 W Randolph St
                                                                            Chicago, IL 60601
Attorney General                           Office of the Attorney General   Attn: Aaron Frey                                                    First Class Mail
                                                                            State House, Stn 6
                                                                            Augusta, ME 04333
Attorney General                           Office of the Attorney General   Attn: Andrew Bailey                                                 First Class Mail
                                                                            815 Olive St, Ste 200
                                                                            St Louis, MO 63101
Attorney General                           Office of the Attorney General   Attn: Andrew Bailey                                                 First Class Mail
                                                                            615 E 13th St, Ste 401
                                                                            Kansas City, MO 64106
Attorney General                           Office of the Attorney General   Attn: Andrew Bailey                                                 First Class Mail
                                                                            2311 Bloomfield St, Ste 106
                                                                            Cape Girardeau, MO 63703
Attorney General                           Office of the Attorney General   Attn: Andrew Bailey                                                 First Class Mail
                                                                            Supreme Court Bldg
                                                                            207 W High St
                                                                            Jefferson City, MO 65101
Attorney General                           Office of the Attorney General   Supreme Court Bldg                                                  First Class Mail
                                                                            P.O. Box 899
                                                                            Jefferson City, MO 65102
Attorney General                           Office of the Attorney General   Walter Sillers Bldg                                                 First Class Mail
                                                                            550 High St, Ste 1200
                                                                            Jackson, MS 39201
Attorney General                           Office of the Attorney General   Attn: Mathew J Platkin                                              First Class Mail
                                                                            Richard J Hughes Justice Complex
                                                                            25 Market St
                                                                            P.O. Box 080
                                                                            Trenton, NJ 08625
Attorney General                           Office of the Attorney General   Attn: Hector Balderas                                               First Class Mail
                                                                            P.O. Drawer 1508
                                                                            Santa Fe, NM 87504‐1508
Attorney General                           Office of the Attorney General   Attn: Letitia A James                                               First Class Mail
                                                                            Dept of Law
                                                                            The Capitol, 2nd Fl
                                                                            Albany, NY 12224
Attorney General                           Office of the Attorney General   Attn: Dave Yost                                                     First Class Mail
                                                                            State Office Tower
                                                                            30 E Broad St
                                                                            Columbus, OH 43266‐0410
Attorney General                           Office of the Attorney General   Attn: Michelle A Henry                                              First Class Mail
                                                                            Strawberry Sq, 16th Fl
                                                                            Harrisburg, PA 17120
Attorney General                           Office of the Attorney General   Attn: Domingo Emanuelli Hernandez                                   First Class Mail
                                                                            P.O. Box 9020192
                                                                            San Juan, PR 00902‐0192




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                                                                                                   Master Service List


              Description                                       Name                                        Address                                      Email               Method of Service
Attorney General                           Office of the Attorney General         Attn: Alan Wilson                                                                First Class Mail
                                                                                  Rembert D Dennis Office Bldg
                                                                                  P.O. Box 11549
                                                                                  Columbia, SC 29211‐1549
Attorney General                           Office of the Attorney General         Attn: Marty Jackley                                                              First Class Mail
                                                                                  1302 E Hwy 14, Ste 1
                                                                                  Pierre, SD 57501‐8501
Attorney General                           Office of the Attorney General         Attn: Herbert H Slattery, III                                                    First Class Mail
                                                                                  P.O. Box 20207
                                                                                  Nashville, TN 37202‐0207
Attorney General                           Office of the Attorney General         Attn: Jonathan Skrmetti                                                          First Class Mail
                                                                                  425 5th Ave N
                                                                                  Nashville, TN 37243
Attorney General                           Office of the Attorney General         Attn: Ken Paxton                                                                 First Class Mail
                                                                                  Capital Station
                                                                                  P.O. Box 12548
                                                                                  Austin, TX 78711‐2548
Attorney General                           Office of the Attorney General         Attn: Josh Kaul                                                                  First Class Mail
                                                                                  Wisconsin Dept of Justice
                                                                                  State Capital, Rm 114 E
                                                                                  P.O. Box 7857
                                                                                  Madison, WI 53707‐7857
*NOA ‐ Counsel to Beacon Sales             Offit Kurman, P.A.                     Attn: Brian J McLaughlin                      brian.mclaughlin@offitkurman.com   Email
Acquisition, Inc.                                                                 222 Delaware Ave, Ste 1105
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Beacon Sales            Offit Kurman, P.A.                     Attn: Stephen Metz                            smetz@offitkurman.com              Email
Acquisition, Inc.                                                                 7501 Wisconsin Ave, Ste 1000W
                                                                                  Bethesda, MD 20814
(b) Counsel to the prepetition Lenders     Otterbourg P.C.                        Attn: Daniel Fiorillo, Esq.                                                      Email
                                                                                  230 Park Ave
                                                                                  New York, NY 10169‐0075                       dfiorillo@otterbourg.com
*NOA ‐ Counsel to PNC Bank, National       Otterbourg P.C.                        Attn: Daniel F Fiorillo/Adam C Silverstein    dfiorillo@otterbourg.com           Email
Association                                                                       Attn: Chad B Simon/Pauline McTernan           asilverstein@otterbourg.com
                                                                                  230 Park Ave                                  csimon@otterbourg.com
                                                                                  New York, NY 10169                            pmcternan@otterbourg.com
*NOA ‐ Proposed Counsel to the Official    Pachulski Stang Ziehl & Jones LLP      Attn: Bradford J Sandler/Colin R Robinson     bsandler@pszjlaw.com               Email
Committee of Unsecured Creditors                                                  Attn: Edward A Corma                          crobinson@pszjlaw.com
                                                                                  919 N Market St, 17th Fl                      ecorma@pszjlaw.com
                                                                                  PO Box 8705
                                                                                  Wilmington, DE 19899‐8705 (Courier 19801)
*NOA ‐ Proposed Counsel to the Official    Pachulski Stang Ziehl & Jones LLP      Attn: Robert J Feinstein/Paul J Labov         rfeinstein@pszjlaw.com             Email
Committee of Unsecured Creditors                                                  Attn: Cia H Mackle                            plabov@pszjlaw.com
                                                                                  780 3rd Ave, 34th Fl                          cmackle@pszjlaw.com
                                                                                  New York, NY 10017
*NOA ‐ Counsel to OXO International Ltd, Pashman Stein Walder Hayden, P.C.        Attn: Henry J Jaffe/Alexis R Gambale          hjaffe@pashmanstein.com            Email
Helen of Trou, L.P., and KAZ USA Inc.                                             824 N Market St, Ste 800                      agambale@pashmanstein.com
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel to OXO International Ltd, Pashman Stein Walder Hayden, P.C.        Attn: David E Sklar                           dsklar@pashmanstein.com            Email
Helen of Trou, L.P., and KAZ USA Inc.                                             Ct Plz S, E Wing
                                                                                  21 Main St, Ste 200
                                                                                  Hackensack, NJ 07601
Committee of Unsecured Creditors           Pension Benefit Guaranty Corp.         Attn: Cynthia Wong                            wong.cynthia@pbgc.gov              Email
                                                                                  445 12th St SW
                                                                                  Washington, DC 20024‐2101
*NOA ‐ Counsel to PBGC                     Pension Benefit Guaranty Corporation   Attn: Samuel L Rosin/Simon J Torres           rosin.samuel@pbgc.gov              Email
                                                                                  Attn: Marc S Pfeuffer                         torres.simon@pbgc.gov
                                                                                  Office of the General Counsel                 pfeuffer.marc@pbgc.gov
                                                                                  445 12th St, SW                               efile@pbgc.gov
                                                                                  Washington, DC 20024
*NOA ‐ Counsel for Ferrellgas, L.P.        Polsinelli PC                          Attn: Michael V DiPietro                      mdipietro@polsinelli.com           Email
                                                                                  222 Delaware Ave, Ste 1101
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Ferrellgas, L.P.        Polsinelli PC                          Attn: Andrew J Nazar                          anazar@polsinelli.com              Email
                                                                                  900 W 48th Pl, Ste 900
                                                                                  Kansas City, MO 64112
*NOA ‐ Counsel for Forney Industries, Inc. Polsinelli PC                          Attn: Shanti M Katona/Katherine M Devanney    skatona@polsinelli.com             Email
                                                                                  222 Delaware Ave, Ste 1101                    kdevanney@polsinelli.com
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for International Forest    Potter Anderson & Corroon LLP          Attn: Christopher M Samis/Katelin A Morales   csamis@potteranderson.com          Email
Products LLC                                                                      Attn: Levi Akkerman                           kmorales@potteranderson.com
                                                                                  1313 N Market St, 6th Fl                      lakkerman@potteranderson.com
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Woodford Plywood,       Potter Anderson & Corroon LLP          Attn: R Stephen McNeill                       rmcneill@potteranderson.com        Email
Inc.                                                                              1313 N Market St, 6th Fl
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Generac Power           Quarles & Brady LLP                    Attn: L Katie Mason                           Katie.Mason@quarles.com            Email
Systems, Inc.                                                                     411 E Wisconsin Ave, Ste 2400
                                                                                  Milwaukee, WI 53202
*NOA ‐ Counsel to Fifth Third Bank, N.A    Reed Smith LLP                         Attn: Jason D Angelo/Cameron C Capp           jangelo@reedsmith.com              Email
                                                                                  1201 N Market St, Ste 1500                    ccapp@reedsmith.com
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Madix, Inc.             Richards, Layton & Finger, PA          Attn: Brendan J. Schlauch                     schlauch@rlf.com                   Email
                                                                                  1 Rodney Sq
                                                                                  920 North King St
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Allied Universal        Robinson & Cole LLP                    Attn: Katherine S Dute                        kdute@rc.com                       Email
Security Services                                                                 1201 N Market St, Ste 1406
                                                                                  Wilmington, DE 19801
*NOA ‐ Counsel for Allied Universal        Robinson & Cole LLP                    Attn: Rachel Jaffe Mauceri                    rmauceri@rc.com                    Email
Security Services                                                                 1650 Market St, Ste 3030
                                                                                  Philadelphia, PA 19103
*NOA ‐ Counsel for Leslie and Gary Killian Robinson & Cole LLP                    Attn: Jamie L Edmonson/Katherine S Dute       jedmonson@rc.com                   Email
                                                                                  1201 N Market St, Ste 1406                    kdute@rc.com
                                                                                  Wilmington, DE 19801




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                                                                                                         Master Service List


              Description                                     Name                                              Address                                                 Email                    Method of Service
*NOA ‐ Counsel for Leslie and Gary Killian Robinson & Cole LLP                         Attn: Rachel Jaffe Mauceri                              rmauceri@rc.com                          Email
                                                                                       1650 Market St, Ste 3030
                                                                                       Philadelphia, PA 19103
*NOA ‐ Counsel for Charlotte Pipe and      Robinson Bradshaw & Hinson, PA              Attn: David M Schilli                                   dschilli@robinsonbradshaw.com            Email
Foundry Company                                                                        101 N Tryon St, Ste 1900
                                                                                       Charlotte, NC 28246
Committee of Unsecured Creditors           Rust‐Oleum Corp.                            11 E Hawthorn Pkwy                                      john.brodersen@rustoleum.com             Email
                                                                                       Vernon Hills, IL 60061
Committee of Unsecured Creditors           Ryder Integrated Logistics                  Attn: Mike Mandell                                      mike_mandell@ryder.com                   Email
                                                                                       2333 Ponce De Leon Blvd
                                                                                       Coral Gables, FL 33134
Governmental Agencies                      Secretary of State                          Division of Corporations Franchise Tax                                                           First Class Mail
                                                                                       P.O. Box 898
                                                                                       Dover, DE 19904
SEC                                        Securities & Exchange Commission            100 F St NE                                                                                      First Class Mail
                                                                                       Washington, DC 20549
SEC                                        Securities & Exchange Commission            Philadelphia Regional Office                                                                     First Class Mail
                                                                                       1617 JFK Blvd, Ste 520
                                                                                       Philadelphia, PA 19103
SEC                                        Securities & Exchange Commission            Attn: Antonia Apps, Regional Director                                                            First Class Mail
                                                                                       100 Pearl St, Ste 20‐100
                                                                                       New York, NY 10004‐2616
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Joseph Larkin                                     Joseph.Larkin@skadden.com                Email
                                                                                       1 Rodney Sq
                                                                                       920 N King St
                                                                                       Wilmington, DE 19801
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Ron E Meisler/Jennifer Madden                     Ron.Meisler@skadden.com                  Email
                                                                                       320 S Canal St                                          Jennifer.Madden@skadden.com
                                                                                       Chicago, IL 60606‐5707
Debtors Counsel                            Skadden, Arps, Slate, Meagher & Flom LLP    Attn: Evan A Hill/Moshe S Jacob                         Evan.Hill@skadden.com                    Email
                                                                                       1 Manhattan W                                           Moshe.Jacob@skadden.com
                                                                                       New York, NY 10001
Committee of Unsecured Creditors           STIHL Inc.                                  Attn: Robin Shearer                                     robin.shearer@stihl.us                   Email
                                                                                       536 Viking Dr
                                                                                       Virginia Beach, VA 23452
*NOA ‐ Counsel for Generac Power           Sullivan Hazeltine Allinson LLC             Attn: William A Hazeltine                               whazeltine@sha‐llc.com                   Email
Systems, Inc.                                                                          919 N Market St, Ste 420
                                                                                       Wilmington, DE 19801
Counsel to the Stalking Horse Bidder       Taft Stettinius & Hollister LLP             Attn: Zachary E Klutz, W Timothy Miller                 zklutz@taftlaw.com; miller@taftlaw.com   Email
                                                                                       1 Indiana Sq, Ste 3500
                                                                                        Indianapolis, IN 46204
*NOA ‐ Counsel for the Texas Comptroller Texas Attorney General's Office               Attn: Christopher S Murphy                              christopher.murphy@oag.texas.gov         Email
of Public Accounts                                                                     Bankruptcy & Collections Division
                                                                                       PO Box 12548
                                                                                       Austin, TX 78711‐2548
Committee of Unsecured Creditors           The Hillman Group, Inc.                     Attn: Dan Bauer                                         daniel.bauer@hillmangroup.com            Email
                                                                                       1280 Kemper Meadow Dr
                                                                                       Cincinnati, OH 45240
Committee of Unsecured Creditors           The Sherwin‐Williams Co. d/b/a Minwax       Attn: Cecil McCurty                                     cmccurty@valspar.com                     Email
                                                                                       101 W Prospect Ave
                                                                                       1100 Midland Bldg
                                                                                       Cleveland, OH 44115
*NOA ‐ Counsel for Mansfield Oil           Thompson, O'Brien, Kappler & Nasuti, P.C.   Attn: Michael B Pugh                                    mpugh@tokn.com                           Email
Company                                                                                2 Sun Ct, Ste 400
                                                                                       Peachtree Corners, GA 30092
*NOA ‐ Tennessee Attorney General's        TN Dept of Revenue                          c/o TN Attorney General's Office, Bankruptcy Division   agbankdelaware@ag.tn.gov                 Email
Office                                                                                 P.O. Box 20207
                                                                                       Nashville, TN 37202‐0207

*NOA ‐ Counsel to The Hardware House,      Tydings & Rosenberg, LLP                    Attn: Dennis J Shaffer/Stephen B Gerald                 dshaffer@tydings.com                     Email
Inc                                                                                    200 Continental Dr, Ste 401                             sgerald@tydings.com
                                                                                       Newark, DE 19713
*NOA ‐ Counsel for The J. M. Smucker       Tydings & Rosenberg, LLP                    Attn: Stephen B Gerald                                  sgerald@tydings.com                      Email
Company                                                                                200 Continental Dr, Ste 401
                                                                                       Newark, DE 19713
US Attorney's Office                       United States Attorney’s Office             District of Delaware                                                                             First Class Mail
                                                                                       1313 N Market St
                                                                                       Wilmington, DE 19801
US Trustee                                 US Trustee for the District of Delaware     Attn: Benjamin A Hackman                                benjamin.a.hackman@usdoj.gov             Email
                                                                                       844 N King St, Rm 2207
                                                                                       Wilmington, DE 19801
Committee of Unsecured Creditors           W.P. Carey Inc.                             1 Manhattan W                                           chayes@wpcarey.com                       Email
                                                                                       395 9th Ave, 58th Fl
                                                                                       New York, NY 10001
*NOA ‐ Counsel for Renee's Garden, Inc.    Wadsworth, Garber, Warner, Conrardy, P.C.   Attn: Aaron A Garber                                    agarber@wgwc‐law.com                     Email
                                                                                       2580 W Main St
                                                                                       Littleon, CO 80120
*NOA ‐ Counsel for The Dow Chemical     Warner Norcross & Judd LLP                     Attn: Rozanne M Giunta                                  rgiunta@wnj.com                          Email
Company & Rohm and Haas Company LLC,                                                   715 E Main St, Ste 110
Counsel for Rohm and Haas Chemicals LLC                                                Midland, MI 48640

*NOA ‐ Counsel for the Dow Chemical        Warner Norcross & Judd LLP                  Attn: Charles R Quigg                                   cquigg@wnj.com                           Email
Company and Rohm and Haas Chemicals                                                    150 Ottawa Ave NW, Ste 1500
LLC                                                                                    Grand Rapids, MI 49503
*NOA ‐ Agent for Toyota Industries         Weltman, Weinberg and Reis Co., L.P.A       Attn: Scott D Fink                                      bronationalecf@weltman.com               Email
Commercial Finance, Inc.                                                               5990 W Creek Rd, Ste 200
                                                                                       Independence, OH 44131
*NOA ‐ Counsel for ITM Co., Ltd.           Whiteford, Taylor & Preston, LLC            Attn: William F Taylor, Jr                              wtaylor@whitefordlaw.com                 Email
                                                                                       600 N King St, Ste 300
                                                                                       Wilmington, DE 19801
*NOA ‐ Counsel for ITM Co., Ltd.           Whiteford, Taylor & Preston, LLC            Attn: David W Gaffey/Joshua D Stiff                     dgaffey@whitefordlaw.com                 Email
                                                                                       3190 Fairview Park Dr, Ste 800                          jstiff@whitefordlaw.com
                                                                                       Falls Church, VA 22042‐4510
*NOA ‐ Counsel for Rust‐Oleum              Williams Mullen                             Attn: Michael D Mueller/Jennifer M McLemore             mmueller@williamsmullen.com              Email
Corporation and DAP Global, Inc                                                        200 S 10th, St, Ste 1600                                jmclemore@williamsmullen.com
                                                                                       Richmond, VA 23219‐3095




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                                                                                                  Master Service List


              Description                                     Name                                        Address                              Email              Method of Service
*NOA ‐ Counsel for Madix, Inc.             Winstead PC                            Attn: Annmarie Chiarello               achiarello@winstead.com          Email
                                                                                  500 Winstead Bldg
                                                                                  2728 N Harwood St
                                                                                  Dallas, TX 75201
                                           Young Conaway Stargatt & Taylor, LLP   Attn: Edmon L Morton/Kenneth Enos      emorton@ycst.com                 Email
Proposed Delaware efficiency counsel to
                                                                                  1000 N King St                         kenos@ycst.com
the Debtors
                                                                                  Wilmington, DE 19801




True Value Company, L.L.C., et al. (Case No. 24‐12337)
